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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                               CASE NO. 8:10-cr-96-T-17MAP

    TYRONE LEE WILLIAMS


                          FINAL JUDGMENT OF FORFEITURE

           THIS CAUSE comes before the Court upon the filing of the Motion by the

     United States for a Final Judgment of Forfeiture, pursuant to 21 U.S.C. §

    853(n)(7), for the following assets:

                  (a)    $20,574 in U.S. Currency;

                  (b)    The real property, including all improvements thereon and
                         appurtenances thereto, located at 1775 Dunbar Street,
                         Bartow, Florida 33830, which is legally described as follows:

                         Lots 7 and 8, Block 3, Orange Heights, according to the map
                         or plat thereof as recorded in Plat Book 21, Page 6, Public
                         Records of Polk County, Florida.

                         Parcel No. 093025-426500-003070 and 003080.

                  (c)    The real property, including all improvements thereon and
                         appurtenances thereto, located at 1780 Hamilton Street,
                         Bartow, Florida 33830, which is legally described as follows:

                         Lots 4 and 5, Block 1, Hamilton's Addition, according to the
                         map or plat thereof as recorded in Plat Book 21, Page 13,
                         Public Records of Polk County, Florida.

                         Parcel No. 093025-424000-001041.

           Being fully advised in the premises, the Court finds that on October 1,

    2010, a $2,660.00 Forfeiture Money Judgment and Preliminary Order of
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     Forfeiture was entered, forfeiting to the United States all right, title, and interest of

    defendant Tyrone Lee Williams in the identified assets. Doc. 138.

            The Court further finds that defendant Williams was sentenced and the

    forfeiture of the identified assets was included in the Judgment in a Criminal

     Case. Docs. 135 and 139.

            The Court further finds that no person or entity other than defendant

    Williams and co-defendants Courtney Sanders and Tennielle Sanders, whose

     interests were forfeited to the United States in the Preliminary Order of Forfeiture,

     Latresha Wilcox Sanders, Vivian Wilcox, the Polk County Tax Collector, and

     Ladrema Sanders, are known to have an interest in the assets. No third party

     other than claimants Latresha Wilcox, Vivian Wilcox, the Polk County Tax

     Collector, whose petitions have been adjudicated and/or settled has filed a

     petition or claimed an interest in the assets, and the time for filing such petition

     has expired.

            The Court further finds that the United States sent notice of the forfeiture


    to all third parties known to have a potential interest in the assets including

     Latresha Wilcox Sanders, Vivian Wilcox, the Polk County Tax Collector, and

     Ladrema Sanders.


            The Court further finds that Claimants Latresha Wilcox Sanders and

    Vivian Wilcox filed Petitions for Adjudication of Interest for real properties. Docs.

    251 and 252; the Claimants then filed an Unopposed Motion for Voluntary
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    Dismissal of their Petition with prejudice, which this Court granted. Docs. 279

    and 286.

           The Court further finds that the United States and the Polk County Tax

    Collector entered into an Amended Stipulated Settlement Agreement for the real

    properties. In the agreement, the government recognizes that, in order to pass

    clear title, it must satisfy any outstanding taxes due and owing, to the extent

    there are any, at the time of sale. Doc. 267.

           Accordingly, it is hereby

           ORDERED, ADJUDGED, and DECREED that for good cause shown, the

    United States' motion is GRANTED.

           It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. §

    853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), all right, title and interest in the assets

    are CONDEMNED and FORFEITED to the United States for disposition

    according to law.

           Clear title to the assets are now vested in the United States of America.

           DONE and ORDERED in Tampa, Florida, this ^vM                 day of -^R aojaTiu

               20 13.                                        N
